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 5
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                 )       No. 2:11-CR-00514-5 TLN
12                                             )
                          Plaintiff,           )
13                                             )       REQUEST FOR RETURN
                                               )       OF PASSPORTS AND
14                                             )       ORDER
            vs.                                )
15                                             )
16   STANISLAV SARBER, et al.                  )
                                               )       .
17                        Defendant.           )
                                               )
18
19
            Based on the fact that Defendant, STANISLAV SARBER, was sentenced on July
20
     13th 2017 to a probationary sentence which includes 4 months of electronic monitoring,
21
     it is requested that the United States and Russian passports posted in support of
22
23   defendant’s pretrial release be returned forthwith.

24
     Dated: August 3, 2017                             /s/ PETER KMETO
25                                                     PETER KMETO
                                                       Attorney for Defendant
26                                                     STANISLAV SARBER
27
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 1                                            ORDER
 2          The Court, having read and considered the above request, HEREBY ORDERS
 3
     THAT the Clerk of the Court for the Eastern District of California return to defendant,
 4
     STANISLAV SARBER, his United States and Russian passports. Defendant,
 5
     STANISLAV SARBER, is to present himself to the Court Clerk in order to take custody
 6
 7   of his passports.

 8   Dated: August 6, 2017
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11                                                      Troy L. Nunley
                                                        United States District Judge
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